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                      Exhibit 1
             (File Under Seal)
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                               United States District Court
                              Southern District of New York


Virginia L. Giuffre,

               Plaintiff,                      Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/

                        PLAINTIFF’S SUPPLEMENTAL RESONSES TO
                        DEFENDANT’S INTERROGATORIES 12 and 13


        Pursuant to Federal Rules of Civil Procedure 26, 33, 34, Plaintiff hereby serves her

supplemental responses to Defendant’s Interrogatories 12 and 13.

                                          OBJECTIONS

       Plaintiff maintains and hereby incorporates by reference all applicable objections,

including both general objections and specific objections to individual interrogatories, in her

prior responses and objections served on Defendant in these supplemental responses.

       Defendant’s Discovery Requests violate Rule 33, Fed. R. Civ. P., which provides “a party

may serve on any other party no more than 25 interrogatories, including all discrete subparts” –

in that Defendant has served a total of 59 interrogatories in this case, including subparts, in

violation of Rule 33.

       Ms. Giuffre objects to Defendant’s Discovery Requests to the extent they seek

information that is protected by any applicable privilege, including but not limited to, attorney

client privilege, work product privilege, and any other applicable privilege.




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       Ms. Giuffre objects to the requests to the extent Defendant’s Discovery Requests call for

the production of documents or information that is already in the possession, custody, or control

of the Defendant. Ms. Giuffre further objects to the requests to the extent that Defendant’s

Discovery Requests are duplicative of documents and information that can equally or more

readily be obtained by the Defendant.

       Ms. Giuffre objects to the requests to the extent that they seek documents that are not

relevant, material, or necessary to this action and, thus, are not reasonably calculated to lead to

the discovery of admissible evidence. Ms. Giuffre further objects because Defendant’s Second

Set of Requests for Production seeks documents that are in no way limited to their relation to this

case. Indeed, they seek documents that are not important to resolving the issues; documents that

are not relevant to any party’s claim or defense; and documents that are not proportional to the

needs of the case. Such requests would create a heavy burden on Ms. Giuffre that outweighs any

benefit. Such discovery is prohibited by the Federal Rules of Civil Procedure, particularly under

the 2015 amendments to Rule 26(b)(1), Fed. R. Civ. P., and is wholly inappropriate.

       Ms. Giuffre objects to the requests to the extent that they are overly broad and unduly

burdensome, as individually logging all privileged responsive documents would be overly

burdensome. Plaintiff contends that requests targeting such privileged information are overly broad

under Rule 26(b)(1), Fed. R. Civ. P. Specifically, Ms. Giuffre objects to the requests as overly

burdensome to the extent that they would require logging voluminous and ever-increasing privileged

communications between Ms. Giuffre and her counsel after the date litigation commenced on

September 21, 2015. Ms. Giuffre additionally objects to the requests as overly burdensome to the

extent that they would require logging voluminous privileged documents between Ms. Giuffre and

her counsel related to Jane Doe #1 and Jane Doe #2 v. United States, Case no. 08-80736 CIV-Marra,

pending in the Southern District of Florida; Bradley Edwards and Paul Cassell v. Alan Dershowitz,

Case no. CACE 15-000072, from the Seventeenth Judicial Circuit, Broward County, Florida; and



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Jane Doe No. 102 v. Jeffrey Epstein, Case No. 09-80656-CIV-Marra/Johnson (Southern District of

Florida). Accordingly, due to the undue burden of individually logging responsive, privileged

documents related to Defendant’s overly-broad requests, Plaintiff has employed categorical logging

of such privileged responsive documents pursuant to Local Civil Rule 26.2(c).

       Ms. Giuffre objects to the requests in that they seek to invade her privacy for the sole purpose

of harassing and intimidating Ms. Giuffre who was a minor victim of sexual trafficking.

       Ms. Giuffre objects to the requests to the extent they are overly broad and unduly

burdensome.

       Ms. Giuffre’s responses to Defendant’s Second Set of Discovery Requests are being

made after reasonable inquiry into the relevant facts, and are based only upon the information

and documentation that is presently known to her. Ms. Giuffre reserves the right to modify

and/or supplement her responses. Ms. Giuffre has produced documents and information in

response to these Requests.

       Ms. Giuffre incorporates her above-listed general objections in the responses herein.

                    SUPPLEMENTAL INTEROGATORY RESPONSES

       12.     Identify any Health Care Provider from whom You received any treatment for any

physical, mental or emotional condition, including addiction to alcohol, prescription or illegal

drugs, that You suffered from subsequent to the Alleged Defamation by Ghislaine Maxwell,

including:

       a.      the Health Care Provider’s name, address, and telephone number;

       b.      the type of consultation, examination, or treatment provided;

       c.      the dates You received consultation, examination, or treatment;

       d.      whether such treatment was on an in-patient or out-patient basis;

       e.      the medical expenses to date;




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        f.      whether health insurance or some other person or organization or entity has paid

                for the medical expenses; and

        g.      for each such Health Care Provider, please execute the medical and mental health

                records release attached hereto as Exhibit A.

Supplemental Response to Interrogatory No. 12:

        Ms. Giuffre objects to this interrogatory in that it is overbroad and not limited in scope to

the medical information relating to the abuse she suffered from Defendant and Jeffrey Epstein.

        Pursuant to the Rules, if requested documents are not yielded in a “reasonable inquiry,” Ms.

Giuffre is not obligated to expend all of her time and resources on a quest to gather medical files that

are unknown to her or unaccessable after reasonable inquiry. See, e.g., Manessis v. New York City

Dep't of Transp., No. 02 CIV. 359SASDF, 2002 WL 31115032, at *2 (S.D.N.Y. Sept. 24, 2002)

(concluding that “ability to pursue discovery regarding [plaintiff’s] medical records should be limited

in some manner”); Evanko v. Electronic Systems Assoc., Inc., No. 91 Civ. 2851, 1993 WL 14458 at

*2 (S.D.N.Y. Jan. 8, 1993) (applying the New York state physician-patient privilege, and holding

that where plaintiff claimed that she suffered emotional distress, defendants did not have “a license to

rummage through all aspects of the plaintiff's life in search of a possible source of stress or distress,”

including plaintiff’s medical records); Wachtman v. Trocaire College, 532 N.Y.S.2d 943, 944 (N.Y.

App. Div. 1988) (holding that the scope of a waiver of the physician-patient privilege in personal

injury cases is “limited and does not permit discovery of information involving unrelated illnesses

and treatment”); Sgambellone v. Wheatley, 165 Misc.2d 954, 958, 630 N.Y.S.2d 835, 838 (N.Y.

Sup.Ct. 1995) (holding that in a personal injury action, plaintiff's waiver of the physician-patient

privilege “is not a wholesale waiver of all information about the plaintiff’s entire physical and mental

conditions but a waiver only of the physical and/or mental condition that is affirmatively placed in

controversy”) (emphasis in original).




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         Finally, Ms. Giuffre objects in that it seeks information protected by the doctor-patient

privilege, and any other applicable privilege stated in the General Objections. Ms. Giuffre further

objects to this interrogatory in that it violates Rule 33 as its subparts, in combination with the other

interrogatories, exceed the allowable twenty-five interrogatories. Ms. Giuffre further objects to this

request in that it is overbroad and seeks confidential medical information of a sex abuse victim and is

not limited in scope to the issues in this case.

         Without waiving her objections, Ms. Giuffre has produced those records available to her

or obtainable through reasonable inquiry from the health care providers known to her who

provided treatment subsequent to Ghislaine Maxwell’s defamation of Ms. Giuffre. Ms. Giuffre

has executed releases for healthcare providers as requested by Defendant and either sent those

releases directly to the health care provider or provided them to Defendant’s counsel.

         Health Care Providers known to Ms. Giuffre who may have provided treatment

subsequent to the defamation are as follows1:

        Dr. Steven Olson,




        Dr. Chris Donohue,




1
  Health care providers known to have provided treatment both prior to and subsequent to Defendant’s January 3,
2015 defamation of Ms. Giuffre are listed in the supplemental responses for both Interrogatories 12 and 13. There
may be additional crossover of providers that have treated Ms. Giuffre prior to the defamation, listed in the
supplemental response to Integratory 13, who also provided treatment subsequent to the defamation. Ms. Giuffre
reserves the right to revise, amend, and supplement her response to Interrogatory No. 12 with providers listed in her
supplemental response to Interrogatory 13 if and when she becomes aware of any additional crossover.


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    Dr. Peter Del Mar,




    St. Thomas More Hospital,




    Ms. Judith Lightfoot,




                                                    .

    Medicare Australia



                                                .

    Dr. Rauf Yousaf,




    CVS Pharmacy may have provided prescribed medications to Ms. Giuffre sufsequent to

     the defamation. Those records have been requested and a release provided to the

     pharmacy, see GIUFFRE007606-7610.



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       Walgreens Pharmacy may have provided prescribed medications to Ms. Giuffre. Those

        records have been requested and a release provided to the pharmacy, see

        GIUFFRE007611-7616.



        13.    Identify any Health Care Provider from whom You received any treatment for any

physical, mental or emotional condition, including addiction to alcohol, prescription or illegal

drugs, that You suffered from prior to the Alleged Defamation by Ghislaine Maxwell, including:

        a.     the Health Care Provider’s name, address, and telephone number;

        b.     the type of consultation, examination, or treatment provided;

        c.     the dates You received consultation, examination, or treatment;

        d.     whether such treatment was on an in-patient or out-patient basis;

        e.     the medical expenses to date;

        f.     whether health insurance or some other person or organization or entity has paid

               for the medical expenses; and

        g.     for each such Health Care Provider, please execute the medical and mental health

               records release attached hereto as Exhibit A.

Supplemental Response to Interrogatory No. 13:

        Ms. Giuffre objects to this interrogatory because it violates this Court’s Order. The Court

has excluded the production of medical records from prior to 1999, stating, “the damage issue

relates, in my view, solely to the defamation.” (April 21, 2016, Hearing Transcript at 20:23-24).

This holding applies to pre-1999 medical records. Accordingly, medical records prior to 1999

are not responsive to this request. As this interrogatory is not limited to the time period ordered

by this Court, Ms. Giuffre objects.

        Ms. Giuffre objects to this interrogatory in that it is overbroad and not limited in scope to

the medical information relating to the abuse she suffered from Defendant and Jeffrey Epstein.



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        Ms. Giuffre objects because Rule 26 does not allow discovery that is so burdensome as to

require a Herculean effort by an adult to track down every possible prescription ever written for

Ms. Giuffre, or every physician who ever treated Ms. Giuffre, even as a small child. Such a

request is not only impractical and unduly burdensome, but likely impossible. Accordingly, such

an interrogatory is merely for the purpose of imposing a burden on Ms. Giuffre and her

attorneys, not to mention the purposes of harassment.

        Pursuant to the Rules, if requested documents are not yielded in a “reasonable inquiry,” Ms.

Giuffre is not obligated to expend all of her time and resources on a quest to gather medical files

from her birth to the present to find any prescriptions ever written for her for anything at all. See,

e.g., Manessis v. New York City Dep't of Transp., No. 02 CIV. 359SASDF, 2002 WL 31115032, at

*2 (S.D.N.Y. Sept. 24, 2002) (concluding that “ability to pursue discovery regarding [plaintiff’s]

medical records should be limited in some manner”); Evanko v. Electronic Systems Assoc., Inc., No.

91 Civ. 2851, 1993 WL 14458 at *2 (S.D.N.Y. Jan. 8, 1993) (applying the New York state physician-

patient privilege, and holding that where plaintiff claimed that she suffered emotional distress,

defendants did not have “a license to rummage through all aspects of the plaintiff's life in search of a

possible source of stress or distress,” including plaintiff’s medical records); Wachtman v. Trocaire

College, 532 N.Y.S.2d 943, 944 (N.Y. App. Div. 1988) (holding that the scope of a waiver of the

physician-patient privilege in personal injury cases is “limited and does not permit discovery of

information involving unrelated illnesses and treatment”); Sgambellone v. Wheatley, 165 Misc.2d

954, 958, 630 N.Y.S.2d 835, 838 (N.Y. Sup.Ct. 1995) (holding that in a personal injury action,

plaintiff's waiver of the physician-patient privilege “is not a wholesale waiver of all information

about the plaintiff’s entire physical and mental conditions but a waiver only of the physical and/or

mental condition that is affirmatively placed in controversy”) (emphasis in original).

        Finally, Ms. Giuffre objects in that it seeks information protected by the doctor-patient

privilege, and any other applicable privilege stated in the General Objections. Ms. Giuffre further



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objects to this interrogatory in that it violates Rule 33 as its subparts, in combination with the other

interrogatories, exceed the allowable twenty-five interrogatories. Ms. Giuffre further objects to this

request in that it is overbroad and seeks confidential medical information of a sex abuse victim and is

not limited in scope to the issues in this case, and, therefore, is propounded for the purposes of

harassment.

         Without waiving her objections, Ms. Giuffre has produced those records available to her

or obtainable through reasonable inquiry from the health care providers known to her who

provided treatment prior to Ghislaine Maxwell’s defamation of Ms. Giuffre. Ms. Giuffre has

executed releases for healthcare providers as requested by Defendant and either sent those

directly to the health care provider or provided them to Defendant’s counsel.

         Health Care Providers known to Ms. Giuffre who may have provided treatment prior to

the defamation are as follows2:

        Dr. John Harris




        Dr. Darshanee Majaliyana




2
  Health care providers known to have provided treatment both prior to and subsequent to Defendant’s January 3,
2015 defamation of Ms. Giuffre are listed in the supplemental responses for both Interrogatories 12 and 13. There
may be additional crossover of providers that have treated Ms. Giuffre subsequent to the defamation, listed in the
supplemental response to Integratory 12, who also provided treatment prior to the defamation. Ms. Giuffre reserves
the right to revise, amend, and supplement her response to Interrogatory No. 13 with providers listed in her
supplemental response to Interrogatory 12 if and when she becomes aware of any additional crossover.


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    Dr. K. L. Lee




                                         .

    Dr. M. Sellathurai (a/k/a Dr. Sella),




    Dr. Carol Hayek,




    Dr. Ahmed El Moghazi,




    Dr. Stephen Edmond,




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    Campbelltown Hospital,




    Westmead Hospital,




    Ms. Judith Lightfoot,




    Royal Oaks Medical Center,




    Dr. Mona Devanesan,




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       CVS Pharmacy may have provided prescribed medications to Ms. Giuffre. Those

        records have been requested and a release proved to the pharmacy, see GIUFFRE007606-

        7610.

       Walgreens Pharmacy may have provided prescribed medications to Ms. Giuffre. Those

        records have been requested and a release provided to the pharmacy, see

        GIUFFRE007611-7616.


Dated: July 29, 2016.

                                            Respectfully Submitted,

                                            BOIES, SCHILLER & FLEXNER LLP

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to imply institutional endorsement by the University of Utah for this private representation.


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                               CERTIFICATE OF SERVICE

       WE HEREBY CERTIFY that a true and correct copy of the above and foregoing has

been provided by electronic mail to all counsel of record identified below, on this 29th day of

July, 2016.

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                                                      By: /s/ Sigrid McCawley______
                                                              Sigrid McCawley




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